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               EXHIBIT
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                DEFENDANTS JOINING CERTAIN DEFENDANTS'
                                           DEFENDANTS’
              CONSENT MOTION FOR EXTENSION OF TIME TO FILE
               ANSWERS TO THE FOURTH AMENDED COMPLAINT

Amica Mutual Insurance Company
The Automobile Insurance Company of Hartford, Connecticut
Bunker Hill Insurance Company
Citizens Insurance Company of America
Fidelity and Guaranty Insurance Company
Harleysville Preferred Insurance Company
Kemper Independence Insurance Company
Liberty Mutual Fire Insurance Company
Merrimack Mutual Fire Insurance Company
Middlesex Mutual Assurance Company
Nationwide Property & Casualty Insurance Company
New London County Mutual Insurance Company
NGM Insurance Company
Peerless Insurance Company
SAFECO Insurance Company of America
The Standard Fire Insurance Company
The Travelers Home & Marine Insurance Company
The Travelers Indemnity Company of America
